  Case 5:17-cv-00522-DNH-DEP Document 65-22 Filed 06/06/18 Page 1 of 18




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

MICHAEL JOSEPH ROTONDO,

                        Plaintiff,

     -against-                                Civil Case No. 5;17-CV-522 DNHIDEP

BEST BUY STORES, LLC,

                        Defendant.



                          IviI=M[S7 7^1701Ile]kviD]aW_\ ►►V1




                                      CARTER, CONBOY, CASE, BLACKMORE,
                                              MALONEY & LAIRD, P.C.
                                      Attorneys for Defendant
                                      Office and P.O. Address
                                      20 Corporate Woods Boulevard
                                      Albany, NY 12211-2362
                                      Phone: (518) 465-3484
     Case 5:17-cv-00522-DNH-DEP Document 65-22 Filed 06/06/18 Page 2 of 18




                                                                                                                            Page

TABLEOF AUTHORITIES .................................................................................................. ii

PRELIMINARYSTATEMENT .............................................................................................. 2

STATEMENTOF FACTS .................................................................................................... 2

STANDARD OF REVIEW ........................................................................ 2

ARGUMENT........................................................................................................................ 3

                   DEFENDANT'S MOTION SHOULD BE GRANTED, AS PLAINTIFF
                   HAS FAILED TO ESTABLISH THROUGH ADMISSIBLE EVIDENCE
                   THAT HE WAS DISCRIMINATED AGAINST BASED UPON HIS SEX .........3

                    a. Plaintiff has not established a prima facie case of intentional
                       employment discrimination based upon sex against Best Buy .................4

                    b. Defendant had a legitimate non-discriminatory reason for any
                       adverse action taken against plaintiff ......................................................13

          II.      TO THE EXTENT THAT PLAINTIFF RAISES ANY ADDITIONAL
                   CLAIMS IN OPPOISTION TO THOSE MOTIONS, CLAIMS RAISED
                   FOR THE FIRST TIME IN OPPOSITION TO A MOTION FOR
                   SUMMARY JUDGMENT SHOULD NOT BE CONSIDERED BY THE
                   COURT........................................................................................................14

CONCLUSION...................................................................................................................10
     Case 5:17-cv-00522-DNH-DEP Document 65-22 Filed 06/06/18 Page 3 of 18




                                                    i                       •



Adamczyk v. New York State Dep't of Corr. Servs., 2011 U.S. Dist. LEXIS 26361,
At*5 (W.D.N.Y. 2011) ......................................................................................................... 5

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986) .............................................2, 3

Barella v. Vill. of Freeport, 16 F. Supp. 3d 144, 159 (E.D.N.Y. 2014) ..............................4, 5

Board of Trustees of Keene State College v. Sweeney, 429 U.S. 24, 25 n.2 (1978)...........4

Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986) ..................... ...2

Chambers v. TRM Copy Centers Corp., 43 F.3d 29, 37 (2d Cir. 1994) .............................10

Community Affairs v. Burdine, 450 U.S. 248, 254 (1981) .................................................... 4

Cully   V.   Milliman & Robertson, Inc. , 20 F. Supp. 2d 636, 641 (S.D.N.Y. 1998) ....................4

Cunhiffe v. Sikorsky Aircraft Corp., 9 F. Supp. 2d 125 (D. Conn. 1998) ............................... 5

De la Cruz v. N.Y. City Human Res. Admin. Dep't of Social Servs., 82 F.3d 16, 20
(2d Cir. 1996) .........................................................................................................   ....... 6

Gallo v. Prudential Residential Servs., 22 F.3d 1219, 1223-1224 (2d Cir. 1994) .................3

Lang v. Retirement Living Pub. Co., 949 F.2d 576, 580 (2d Cir. 1991) ............................... 2

McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802 (1973) .......................................3, 4

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (2d Cir. 1983).....2, 3

Memisevich v. St. Elizabeth's Med. Cty., 443 F. Supp. 2d 276, 286 (N.D.N.Y. 2006) .......10

Murray v. U.S. Dep't of Justice, FBI, 821 F. Supp. 94, 102 (E.D.N.Y. 1993), afd,
14 F.3d 591 (2d Cir. 1993) ...................................................................................................3

Olenick v. New York Telephone, 881 F. Supp. 113, 114 (S.D.N.Y. 1995) .......................5, 6

Parker v. Baltimore & O.R. Co., 209 U.S. App. D.C. 215 (D.C. 1981) ................................. 5

Powell v. Syracuse Univ., 580 F.2d 1150, 1155 (2d Cir. 1978) ...........................................6
     Case 5:17-cv-00522-DNH-DEP Document 65-22 Filed 06/06/18 Page 4 of 18




Seils v. Rochester City Sch. Dist. , 192 F. Supp. 2d 100 (W.D.N.Y. 2002) ..........................5

Shah v. Helen Haves Hasp. , 252 F. App'x 364, 366 (2d Cir. 2007) ...................................14

St. Mary's Honor Ctr. v. Hicks , 509 U.S. 502, 506 (1993) ....................................................4

Thompson v. Giivoie , 896 F.2d 716, 720 (2d Cir. 1990) ...................................................... 2

Thornley v. Penton Publ'g, Inc. , 104 F.3d 26, 29 (2d Cir. 1997) ..........................................6

Ticali v. Roman Catholic Diocese of Brooklyn , 41 F. Supp. 2d 249, 260-262
(E.D.N.Y. 1999) ...........................................................................                         ............ 5

Wright v. Ernst & Young, LLP , 152 F.3d 169, 178 (2d Cir. 1998) ......................................15



                                                              Statutes

Fed. R. Civ. P. 56 .....................................................................................................2, 3, 15
Fed. R. Evid. 201(b)(2) .....................................................................................................10
   Case 5:17-cv-00522-DNH-DEP Document 65-22 Filed 06/06/18 Page 5 of 18




       Defendant, Best Buy Stores, LLC (hereinafter "defendant"), submits this

Memorandum of Law in support of its motion pursuant to Federal Rule of Civil Procedure

56 dismissing plaintiff's Second Amended Complaint, in its entirety and with prejudice,

together with such other and further relief as the Court may deem just and proper.

                               STATEMENT OF FACTS

       Defendant respectfully directs the Court to its Statement of Material Facts

("SOMF"), submitted separately herewith, together with the Attorney Affidavit of Michael

J. Murphy, with exhibits, and Affidavit of Jason Kollbaum, with exhibits, submitted in

support of defendant's motion for summary judgment, for a complete recitation of the

relevant facts.

                               STANDARD OF REVIEW

       Summary judgment must be granted when the pleadings, depositions, answers to

interrogatories, admissions, and affidavits show that there is no genuine issue as to any

material facts, and that the moving party is entitled to summary judgment. See, Fed. R.

Civ. P. 56; Anderson v, Liberty Lobby, Inc., 477 U.S. 242,247(1986); Lang v. Retirement

Living Pub. Co., 949 F.2d 576, 580 (2d Cir. 1991). The moving party carries the initial

burden of demonstrating an absence of a genuine issue of material fact. See, Fed. R.

Civ. P. 56; Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986); Thompson v. Giivoie, 896

F.2d 716, 720 (2d Cir. 1990). Facts, inferences therefrom, and ambiguities must be

viewed in a light most favorable to the non-movant. See, Matsushita Elec. Indus. Co. v.

Zenith Radio Corp., 475 U.S. 574, 586 (2d Cir. 1983).




                                            2
   Case 5:17-cv-00522-DNH-DEP Document 65-22 Filed 06/06/18 Page 6 of 18




       When the moving party has met the burden, the non-moving party "must do more

than simply show that there is some metaphysical doubt as to the material facts."

Matsushita Elec. Indus. Co., 475 U.S. at 586. At that point, the non-moving party "must

set forth specific facts showing that there is a genuine issue of fact for trial." Fed. R. Civ.

P. 56; Liberty Lobby Inc., 477 U.S. at 250; Matsushita Elec. Indus. Co., 475 U.S. at 587.

To withstand a summary judgment motion, evidence must exist upon which a reasonable

jury could return a verdict for the non-movant. See, Liberty Lobby, Inc., 477 U.S. at 248-

249; Matsushita Elec. Indus. Co., 475 U.S. at 587. Thus, summary judgment is proper

where there is "little or no evidence. . . in support of the non-moving party's case." Gallo

v. Prudential Residential Servs., 22 F.3d 1219, 1223-1224 (2d Cir. 1994) (citations

omitted).

                                        ARGUMENT



       DEFENDANT'S MOTION SHOULD BE GRANTED, AS PLAINTIFF HAS
       FAILED TO ESTABLISH THROUGH ADMISSIBLE EVIDENCE THAT HE
       WAS DISCRIMINATED AGAINST BASED UPON HIS SEX

        A plaintiff in an action brought pursuant to Title VII of the Civil Rights Act of 1964

must prove that (1) he was within a protected group; (2) that he was qualified for the job;

(3) plaintiff suffered an adverse employment action; and (4) under circumstances giving

rise to an inference of discrimination. See, McDonnell Douglas Corp. v. Green, 411 U.S.

792, 802 (1973). "While the plaintiff's burden of proof at this initial stage of a

discrimination case is de minimus, the plaintiff must still provide some direct or

circumstantial evidence to survive a motion for summary judgment." Murray v. U.S. Dept

of Justice, FBI, 821 F. Supp. 94, 102 (E.D.N.Y. 1993), aff'd, 14 F.3d 591 (2d Cir. 1993).



                                               3
   Case 5:17-cv-00522-DNH-DEP Document 65-22 Filed 06/06/18 Page 7 of 18




          "Establishment of the prima facie case in effect creates a presumption that the

employer unlawfully discriminated against the employee." Community Affairs v. Burdine,

450 U.S. 248, 254 (1981). The defendant then has the burden to come forward with a

non-discriminatory reason for the action complained of. St. Mary's Honor Ctr. v. Hicks,

509 U.S. 502, 506 (1993). "It is important to note, however, that although the McDonnell

Douglas presumption shifts the burden of production to the defendant, 'the ultimate

burden of persuading the trier of fact that the defendant intentionally discriminated against

the plaintiff remains at all times with the plaintiff." St. Mary's, 509 U.S. at 507. "Any

legitimate, non-discriminatory reason will rebut the presumption triggered by the prima

facie case." Fisher, 114 F.3d at 1336. Thus, "the defendant need not persuade the court

that it was actually motivated by the proffered reasons" in order to nullify the presumption

and obligate the plaintiff to satisfy the burden of proof. Burdine, 450 U.S. at 254. See

also, Board of Trustees of Keene State College v. Sweeney, 429 U.S. 24, 25 n. 2 (1978)

(employer need only "explain[] what he has done"),

          If the defendant articulates a non-discriminatory reason, "the presumption raised

by the prima facie case is rebutted, and the factual inquiry proceeds to a new level of

specificity." Burdine, 450 U.S. at 255. The trier of fact will decide whether plaintiff has

proven "that the defendant intentionally discriminated against [him]." St. Mary's, 509 U.S.

at 510.

   a. Plaintiff has not established a prima facie case of intentional employment
       discrimination based upon sex against Best Buy

          •   Plaintiff is not a member of a protected class

          The Second Circuit "has yet to expressly adopt a test for determining whether a

non-minority plaintiff qualifies as a member of a protected group." Barella v. Vill. of

                                              n
   Case 5:17-cv-00522-DNH-DEP Document 65-22 Filed 06/06/18 Page 8 of 18




Freeport, 16 F.Supp.3d 144, 159 (E.D.N.Y. 2014), quoting, Adamczykv. New York State

Dep't of Corr. Servs. , 2011 U.S. Dist. LEXIS 26361, at *5 (W.D.N.Y. 2011).

"In an effort to analyze reverse discrimination cases under the established prima facie

case standards, some courts require white plaintiffs to establish `background

circumstances' supporting the suspicion that the defendant is that unusual employer who

discriminates against the majority, (see e.g., Parker v. Baltimore & O. R. Co. , 209 U.S.

App. D.C. 215 (D.C. 1981)) instead of proving membership in a historically protected class

as required to state a prima facie case. However, other courts have concluded that

substituting `background circumstances' for the first prong of stating a prima facie case

does, in fact, impermissibly raise the bar for pleading a cause of action, and have rejected

the Parker analysis for that reason." Barella , 16 F. Supp. 3d 144, 160-161 (E.D.N.Y.

2014), citing, C jjj v.Milliman & Robertson, Inc. , 20 F. Supp. 2d 636, 641 (S.D.N.Y. 1998)

(other citations omitted),

       The Second Circuit has not taken a position on this issue, and the district courts in

this Circuit have split on it. See, Olenick v. New York Telephone , 881 F. Supp. 113, 114

(S.D.N.Y. 1995) (adopting "background circumstances" test); Cunliffe v. Sikorsky Aircraft

Corp. , 9 F. Supp. 2d 125 (D. Conn. 1998) (rejecting Olenick ); Ticali v. Roman Catholic

Diocese of Brooklyn , 41 F. Supp. 2d 249, 260-262 (E.D.N.Y. 1999) (rejecting

"background circumstances" test, and instead assessing whether or not an inference can

be drawn from the established facts that the employer treated a Caucasian plaintiff less

favorably because of his race). See also, Seils v. Rochester City Sch. Dist. , 192 F. Supp.

2d 100 (W.D.N.Y. 2002) (finding "background circumstances" analysis unpersuasive, but




                                             5
       Case 5:17-cv-00522-DNH-DEP Document 65-22 Filed 06/06/18 Page 9 of 18




declining to address the issue since the plaintiffs were unable to establish the fourth prong

of the prima facie inquiry).

           Plaintiff in this case is a thirty-year-old Caucasian male who claims that he was

subjected to discrimination based on his status as a male. 1 SOMF ¶J 1, 7. Plaintiff has

presented no evidence whatsoever supporting his claim that Best Buy is an "unusual

employer who discriminates against the majority." Olenick, 881 F. Supp. at 114.

Accordingly, plaintiff has failed to establish through admissible evidence that there were

background circumstances to support the suspicion that Best Buy is within the "unusual"

category of employers to discriminate against the majority. Absent this showing of

background circumstances, plaintiff has not shown that he is a member of a protected

class.

           ® Plaintiff was not qualified for the position

           "The term 'qualified' has been defined by the Second Circuit to mean `criteria the

employer has specified for the position." Thornley v. Penton Publ'g, Inc., 104 F.3d 26,

29 (2d Cir. 1997). For plaintiff to show that he was qualified according to the employer's

criteria, "plaintiff need not demonstrate that his performance was flawless, but only that

he possesses the basic skills necessary for performance of the job." De la Cruz v. N.Y.

City Human Res. Admin. Dep't of Social Servs., 82 F.3d 16, 20 (2d Cir. 1996), citing,

Powell v. Syracuse Univ., 580 F.2d 1150, 1155 (2d Cir. 1978).

           Best Buy's expectations for employee job performance are articulated in its policies

and procedures. It is clear from a review of these documents and plaintiff's employment



1   Plaintiff has not claimed in his claim that he was discriminated against based upon his status as a parent.
As such, the defendant has limited the present motion to plaintiffs claim for discrimination based upon sex
alleged in the Second Amended Complaint.

                                                        0
   Case 5:17-cv-00522-DNH-DEP Document 65-22 Filed 06/06/18 Page 10 of 18




history with the defendant that he failed to comply with the requirements for his position.

Specifically, the Attendance/Punctuality Policy states that in the case of a "no call/no

show" (where the employee has failed to report for his/her scheduled shift and/or failed

to notify the MOD within two (2) hours following the start of the scheduled shift, without

any other attendance or tardiness infractions), the first no call/no show will result in a

"[final warning" which expires 12 months following the date of the final warning. SOMF

¶ 51. In the case of a no call/no show with other attendance/tardiness infractions or a

second no call/no show, the employee can be involuntarily terminated. Id. Plaintiff's

employment file shows that he did not appear for several scheduled shifts, and was

frequently late for his shifts. SOMF ¶¶ 36, 37, 46-49. Each of these instances was a

sufficient basis for Best Buy to terminate plaintiff's employment based upon failure to

comply with Best Buy's attendance policy.

       Furthermore, Best Buy has availability standards which require a part-time

employee, such as the plaintiff, to be available for two weekday closing shifts, and/or two

weekday opening shifts, and three of five weekend shifts (including at least one Saturday

shift and one Sunday shift). SOMF ¶ 35. The availability standards go on to state that

"[w]here [Best Buy] will not make exceptions to the Availability Standards, employees may

request accommodations from their General Manager and DHRM. These requests will

be approved or denied by these leaders." SOMF ¶ 36.

       Plaintiff failed to meet the availability standards required for part-time employees,

and failed to change his availability to comply with availability standards. On plaintiff's

employment application dated November 6, 2012, he indicated that he was available

Monday morning, Tuesday through Thursday all day, Friday morning, and all day


                                             7
   Case 5:17-cv-00522-DNH-DEP Document 65-22 Filed 06/06/18 Page 11 of 18




Saturday and Sunday. SOMF ¶ 43. When plaintiff filled out his availability form on

November 27, 2012 he changed his availability to reflect that he was available all day on

Sunday, Monday, Wednesday, Thursday, and beginning on 5:00 p.m. on Saturday.

SOMF ¶ 44. Plaintiff did not provide an explanation for why his availability changed during

this time. Murphy Aff. Ex. C, BBS00214. A review of plaintiffs availability data

demonstrates that he changed his availability several times, until he removed his

availability on Saturdays on August 30, 2015. SOMF ¶146. Furthermore, despite plaintiff's

sworn claim in this complaint that he was not available on Saturday pursuant to court

order, a review of the Order of Custody and Parenting Time demonstrates that statement

to be false. Under the Order dated October 24, 2011, plaintiff has parenting time as

follows:

       ®      Each and every Tuesday, from 1:00 p.m. until 9:00 p.m.;

       •      Each and every Friday, from 1:00 p.m. until 9:00 p.m.;

       0      Each and every Sunday, from 10:00 a.m. until 6:00 p.m.;

              One overnight per week, from 6:00 p.m. until 12:00 p.m. the following day,
              on the day of the week as mutually agreed by the parties[.] SOMF ¶ 33.

       Despite plaintiff's assertion that he was scheduled during a time when he had

court-ordered parenting time with his child, the Order demonstrates that this is not

accurate. See, id. Plaintiff testified that he and Ms. Gasperini allegedly verbally modified

the Court's Order by permitting plaintiff to see his child on Saturday in defiance of the

court-ordered schedule. Murphy Aff. Ex. M, p. 62.

       Plaintiff's availability did not comply with the required availability, in that it failed to

have availability for at least one Saturday shift and one Sunday shift. SOMF ¶ 35. As a

result, plaintiff was spoken to by General Manager Jason Kollbaum about his failure to
   Case 5:17-cv-00522-DNH-DEP Document 65-22 Filed 06/06/18 Page 12 of 18




meet availability standards, and instructed to change his availability to comply with the

availability standards. SOMF ¶ 52. In addition, other managers and employees had

conversations with plaintiff, wherein plaintiff was instructed to change his availability to

comply with availability standards. Kollbaum Aff.    1111. A correspondence from Associate

Store Manager Justin Hayes, following two verbal conversations, sets forth that plaintiff

was required to change his availability to comply with availability standards within 30

days. Plaintiff never changed his availability to comply with Best Buy's availability

standards. SOMF ¶ 58. Furthermore, plaintiff never requested an accommodation to

have availability that departed from Best Buy's availability. SOMF ¶ 55.

       In addition to plaintiffs failure to comply with the availability standards, plaintiff had

a well-documented history of failing to meet company standards and expectations,

comply with applicable policies, and cooperate as a Best Buy team member. Specific

instances are documented by Performance Counseling Records (or "PCRs"), detailed in

subsection "b"' below. Plaintiff was counseled for, among other things, failure to appear

for shifts and undertake his job duties in the manner required by Best Buy policies. These

PCRs specifically note that "failure to improve performance or meet expectations as

described above may result in further corrective action up to, and including, termination

of employment." Murphy Aff. Ex. C, BBS00158.

       The Best Buy Mobile Productivity Report also shows that plaintiff's productivity was

substantially lower than his coworkers. BBS00562-63.

       Based on the foregoing, the record establishes that plaintiff was not qualified for

the position with Best Buy, as he failed to comply with the required availability standards,




                                               J
    Case 5:17-cv-00522-DNH-DEP Document 65-22 Filed 06/06/18 Page 13 of 18




he failed to meet company standards and expectations and policies and failed be a

cooperative and productive as a Best Buy team member.

        • Plaintiff has failed to raise an inference of discrimination

       A plaintiff must demonstrate circumstances existing at the time of the termination

that would "give rise to an inference: of discrimination." Chambers v. TRM Copy Centers

Corp., 43 F.3d 29, 37 (2d Cir. 1994). A Court's determination of "whether the proffered

admissible evidence shows circumstances that would be sufficient to permit a rational

fact finder to infer a discriminatory motive." Memisevich v. St. Elizabeth's Med. Cty., 443

F. Supp. 2d 276, 286 (N.D.N.Y. 2006).

       As an initial matter, there was no adverse action taken toward plaintiff. Plaintiff's

employment with Best Buy ended when he failed to report for scheduled shifts. SOMF ¶

61. Plaintiff no called/no showed for three consecutive scheduled shifts on December 20,

21, and 22, 2015. SOMF ¶ 59. Moreover, December 20, 21, and 22, 2015 fell on a

Sunday, Monday and Tuesday, respectively, when he was purportedly available. 2

Murphy Aff. Ex. I, BBS00278-280. As such, plaintiff's claims about being scheduled

when he claims he had parenting time on a Saturday do not address plaintiff's failure to

present for three consecutive shifts when he was noted to be available. He was also a

no call/no show to a shift scheduled for January 5, 2016 (a Tuesday). SOMF ¶ 60.

Plaintiff was never terminated from Best Buy, rather, he stopped reporting for shifts.

SOMF ¶ 61. As a result, plaintiff was designated as voluntarily terminated on March 7,

2016. Id. Therefore, there was no adverse employment action taken against plaintiff.



2The defendant respectfully requests that the Court take judicial notice that December 20, 21 and 22 fell
on Sunday, Monday and Tuesday, respectively. "Courts may judicially notice facts that are not subject to
reasonable dispute because [they] ... can be accurately and readily determined from sources whose
accuracy cannot reasonably be questioned." Fed. R. Evid. 201(b)(2).

                                                   10
   Case 5:17-cv-00522-DNH-DEP Document 65-22 Filed 06/06/18 Page 14 of 18




       In addition, there is no basis for plaintiffs claim that there was a disadvantage to

being placed in the portable audio section of the store. General Manager Jason Kollbaum

states that the decision to place an employee in certain departments of the store are

based solely upon the legitimate staffing and business needs of the store at that time.

SOMF ¶ 63. Placing an employee in a certain part of the store is not done in a retaliatory,

discriminatory or harassing manner. Id. Mr. Kollbaum specifically states that there is no

basis for plaintiff's claim that one department of the store is necessarily preferable over

another. Id. Therefore, plaintiff was not placed in the portable audio department as a

harassment or punishment.

       Furthermore, there is no evidence to suggest that plaintiff was scheduled in a

manner that was either harassing or discriminatory by scheduling him to work on

Saturdays. Scheduling of employees for shifts at Best Buy is accomplished through an

automated system. SOMF ¶ 62. This automated system is set to be consistent with the

Best Buy availability standards. Id. This automated system cannot be reset to override

those availability standards by, for example, insuring that a part-time employee never has

a Saturday shift. Id. Employees are not scheduled based upon whether they are male

or female, or whether or not they have children and/or child visitation orders. SOMF ¶ 64.

Moreover, General Manager Jason Kollbaum states that he was not aware of plaintiffs

family circumstances and whether or not he had a child. SOMF ¶ 64.

       With regard to plaintiff's claim that he was not treated as well as his female

coworkers, plaintiff has produced no evidence in admissible form to support that claim.

There is no suggestion based upon the record that plaintiff was treated differently in any

manner to any of his co-workers, or that any of these co-workers had availability which


                                             11
   Case 5:17-cv-00522-DNH-DEP Document 65-22 Filed 06/06/18 Page 15 of 18




did not comply with the availability standards. Indeed, with regard to plaintiffs claim that

an employee named Mary was treated more favorably than he was, plaintiff alleges that

"[s]he didn't complain about anything. She seemed chipper on the job. There was no

grievances from her whatsoever. And I had heard grievances from her, that she was very

outspoken about grievances." Murphy Aft., Ex. M, p. 143. Furthermore, plaintiff alleges

that with regard to Mary, "[t]here was never any complaint from her about being able to

see her child or be in her child's life or being scheduled just to harass her with her

parenting time or failure to be promoted or being scheduled — or given different or

separate duties than other people in the same position." Id. at pgs. 143-144. This

unsupported and speculative opinion does not establish a legitimate basis to suggest that

a female employee was treated more favorably than plaintiff. It does not even establish

who Mary is, what department she worked in or if she had a child.

       Furthermore, there is no merit to plaintiff's claim that his lack of promotions with

the defendant are in any manner related to his sex. The record shows that plaintiff applied

for full time positions with the defendant between September, 2013 and April 21, 2014.

See, SOMF ¶ 67-71. Plaintiff was not given those positions due to an inability to contact

him, his lack of experience, education or job specific knowledge and skills. See, id. The

stated reasons for not choosing plaintiff for those positions are objective criteria which are

related to the legitimate business needs of Best Buy. See, id.

       Based on the foregoing, plaintiff has failed to establish a prima facie case of

intentional discrimination against Best Buy. As such, defendant's motion for summary

judgment should be granted.




                                              12
   Case 5:17-cv-00522-DNH-DEP Document 65-22 Filed 06/06/18 Page 16 of 18




   b. Defendant had a legitimate non-discriminatory reason for any adverse action
       taken against plaintiff

       Plaintiff has failed to establish a prima facie case of employment discrimination

based on sex against the defendant. In the event that the Court were to find that plaintiffs

proof sufficiently established a prima facie case, the record shows that defendant had

legitimate, non-discriminatory reasons for any adverse action alleged by plaintiff. A

review of plaintiffs employment file reflects a well-documented history of plaintiff failing

to comply with Best Buy policies, procedures and expectations.

       Specifically, plaintiff was issued PCRs for being late for scheduled shifts on

February 14, March 15 and May 4, 2015. SOMF ¶ 47. Plaintiff was also issued a PCR

for calling in for his shift on July 11, 2015 and arrived 2 hours and 43 minutes late for his

scheduled shift on July 12, 2015. SOMF ¶ 48. This PCR states that "Michael is to adhere

to the Attendance 1 Punctuality [Policy] in its entirety for the next 6 months. Failure to

comply with the Attendance 1 Punctuality Policy will result in further disciplinary action up

to and including termination." Id.

       Furthermore, a PCR was issued on November 2, 2015 due to plaintiff's failure to

appear for a shift scheduled for October 31, 2015. Id. at BBS00229. The PCR states

"Michael says this shift was scheduled outside of his availability so therefore is invalid,

however, Michael's current availability does not meet the company minimum

requirements for employment which Michael has been told and has failed to adjust to

meet these requirements. Id. Plaintiff also did not report for scheduled shifts on

December 20, 21 and 22, 2015, as well January 5, 2016. SOMF ¶¶ 59, 60.

       Moreover, plaintiff's availability did not comply with Best Buy's availability

standards, as plaintiff was not available to work at least one Saturday shift and one


                                             13
   Case 5:17-cv-00522-DNH-DEP Document 65-22 Filed 06/06/18 Page 17 of 18




Sunday shift. SOMF ¶ 35. Plaintiff did not comply in requests from management to

change his availability to conform with availability standards. SOMF ¶¶ 52-54. Plaintiff

did not submit a written request for an accommodation to depart from the availability

standards to Mr. Kollbaum or any other manager. SOMF ¶ 55. Furthermore, General

Manager Jason Kollbaum did not approve any request from plaintiff to change his

availability in a manner not in compliance with the company's availability standards,

including any request that plaintiff not be required to work on Saturdays. SOMF 157.

       As set forth above, plaintiffs pattern of misconduct would constitute terminable

offenses under Best Buy's availability policies. See, SOMF ¶ 51. However, plaintiff was

not terminated. In fact, plaintiff's employment with Best Buy ended when he voluntarily

terminated his position. SOMF ¶ 61.

       The record clearly shows that plaintiff was not subjected to discriminatory,

retaliatory or harassing behavior based upon his status as a male. Rather, the record

shows that plaintiff was not terminated or subjected to any adverse employment actions,

despite plaintiff's failure to report to his scheduled shifts or comply with Best Buy's policies

and procedures.

                                           POINT II

       TO THE EXTENT THAT PLAINTIFF RAISES ANY ADDITIONAL CLAIMS
       IN OPPOSITION TO THOSE MOTIONS, CLAIMS RAISED FOR THE
       FIRST TIME IN OPPOSITION TO A MOTION FOR SUMMARY
       JUDGMENT SHOULD NOT BE CONSIDERED BY THE COURT

The Second Circuit has held that claims raised for the first time in the context of a motion

for summary judgment do not need to be considered by the Court. See, Shah v. Helen

Hayes Hosp., 252 F. App'x 364, 366 (2d Cir. 2007) ( finding that the district court did not

err when refusing to address claims first introduced in a pro se plaintiff's response to a

                                               14
   Case 5:17-cv-00522-DNH-DEP Document 65-22 Filed 06/06/18 Page 18 of 18




summary judgment motion); see also, Wright v. Ernst & Young LLP , 152 F.3d 169,178

(2d Cir. 1998).

       To the extent that plaintiff attempts to raise claims for the first time in opposition to

this motion for summary judgment, this Court should refuse to consider same. Plaintiff

has had multiple opportunities to amend his complaint to add additional or new claims.

In fact, the Second Amended Complaint is the third complaint filed by plaintiff in this

action. Plaintiff should not be permitted to raise a claim at this point of the proceeding,

when he has been given every opportunity to amend his complaint to add any claims he

deemed necessary. Based on the foregoing, the defendant requests that the Court not

consider any claims by plaintiff raised for the first time in opposition to this motion and/or

not plead in the complaint.

                                        CONCLUSION

       Based on the foregoing, the defendant respectfully requests an Order pursuant to

Federal rule of Civil Procedure 56 dismissing plaintiff's complaint in its entirety and with

prejudice, together with such other and further relief as the Court deems just and proper.

DATED: June 6, 2018                         CARTER, CONBOY, CASE, BLACKMORE,
                                                      MALONEY & LAIRD, P.C.

                                                     y
                                                           MZtT         MURP
                                                           Bar Roll No.: 10224
                                                    Attorneys for Defendant
                                                    Office and P.O. Address
                                                    20 Corporate Woods Boulevard
                                                    Albany, NY 12211-2396
                                                    Phone: (518) 465-3484
                                                    E-Mail: nirnur h cari:erconbo .cony




                                               15
